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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF ILLINOIS

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In re:                                                           : Chapter 11
                                                                 :
BOROWIAK IGA FOODLINER, INC.                                     : Case No. 19-40699
                                                                 :
Debtor.                                                          :
                                                                 :
                                                                 :
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     ORDER GRANTING MOTION OF SUPERVALU, INC. FOR ALLOWANCE OF
      ADMINISTRATIVE EXPENSE UNDER BANKRUPTCY CODE § 503(b)(9)

  This matter comes before the Court on a Motion of SuperValu, Inc. for Allowance of

Administrative Expense under Bankruptcy Code Section 503(b)(9) [ECF No. 50] (the “Motion”).

No objection or other response having been filed, it is ORDERED that the Motion is GRANTED

and that SuperValu, Inc. is hereby entitled, and shall accordingly have, an allowed claim for an

administrative expense pursuant to Section 503(b)(9) of the Bankruptcy Code in the amount of

$125,771.54, in the above-captioned bankruptcy case.

        Counsel for the moving party shall serve a copy of this Order by mail to all interested

parties who were not served electronically.


ENTERED: December 4, 2019
                                                        /s/ Laura K. Grandy
                                         __________________________________________________________________________________________

                                          UNITED STATES BANKRUPTCY JUDGE/3




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